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                          UNITED STA TES DISTR ICT CO U RT
                          SOU TH ERN DISTRIC T O F FLO RIDA

              Case No.       17-80194-CR-M 1D DLEBR O OK S& M N NO N


UNITED STA TES O F AM ERICA

       VS.

ALAN M AR TIN BO STO M ,

                      D efendant.
                                                /

                                    FA CTU AL PR O FFER

       DefendantAlanM artin Bostom (hereinaftertdthedefendant''ordtBostom'') hiscounsel,
and the United States agree that,had this case proceeded to trial,the U nited Statesw ould have
proven the follow ing facts beyond a reasonable doubt,and thatthe follow ing facts are true and
correctand are sufficientto supportaplea ofguilty:
       l.     The defendant and his co-defendant, Tovah Lynn Jasperson, a/k/a û'Tara''
(dûlasgerson''),were residentsofWellington,Florida,in Palm Beach County,in the Southern
D istrlct of Florida. The co-defendants share a fam ilialrelationship,that is, the defendant is
Jasperson'sfather.
         2.     In July 2010,the defendantfiled and caused thefiling ofdocum entsw iththeFlorida
Secretary ofStateto create ilAngelsand Angelm en,LLC.''lnA ugustzolo,the nam eofthe lim ited
liability com pany w as changed from SûAngels and Angelm en,LLC''to ççA ngel's House LLC,''
d/b/aiûAngel'sRecovery'g(hereinafterreferredtoasçtAngel'sRecover/').
       3.      Jasperson laterfiled and caused the filing ofdocum entsw ith the Florida Secretary
ofState listing herselfasthe 100% ow nerofAngel'sRecovery. D espite the representation to the
Secretary of State regarding the change in ownership,Bostom continued to be involved in the
m anagem entofAngel'sR ecovery and continued to participate in itsprosts.
        4.      Jasperson and Bostom also filed and causedthefiling ofdocum entsw iththeFlorida
Secretary ofState to create a separate LLC nam ed ldAngel's Recovery,LLC .'' O n June 3,20l4,
Jasperson,on behalfofAngel's Recovery,LLC,filed and caused the filing of a fictitious nam e
registration w ith the Florida Secretary of State,providing notice that Angel's Recovery,LLC,
ow ned thefictitiousname ûiGold RiverLabs.'' Thefiling gaveA ngel'sRecovery,LLC ow nership
ofthe nam e EtGold RiverLabs''through D ecem ber3l,2019.

        5.    Angel's Recovery had m ultiple locations in Palm Beach County,in the Southern
DistrictofFlorida,including 11576 Pierson Road,W ellington,Florida,and 222 ProfessionalW ay,
W ellington,Florida.A ngel'sRecovery purported to operateasa licensed ltsubstanceabuseservice
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   provider''oriçtreatm entcenter,''thatis,itoffered clinicaltreatm entservices forpersons suffering
   from alcoholand drug addiction.A ngel'sRecovery offeredm edication-basedtreatm entforopioid
   addiction,thatis,treatmenton a llnonresidentialbasis which utilizeldq methadone orother
   approved m edication in com bination w ith clinical services to treat persons who are dependent
   uponopioiddrugs.''Fla.Admin.Codej65D-30.002(l6)(m).
           6.     Atdifferenttim es,Jasperson and Bostom m anaged allaspectsofAngel'sRecovery,
   including hiring and firing personnel,adm itting and discharging patients,and m aking financial
   decisions. Jasperson and Bostom were listed as owners and ChiefExecutive O ffcersofA ngel's
   RecoveryonthelicensingdocumentsfiledwiththeDepartmentofChildrenandFamilies(ûiDCF'').
          7.      To be properly licensed by the State ofFlorida,Angel'sRecovery w asrequired to
   have a iûmedicaldirector,''thatis,i4aphysician licensed underChapter458 or459,(Florida
   Statutesq,whohasbeendesignatedtooverseeallmedicalservicesofagsubstanceabusetreatment)
   provider and has been given the authority and responsibility for m edical care delivered by a
   provider.Fla.Admin.Codej6517-30.002(37).
          8. JaspersonandBostom hiredapersonwithinitialsKRK (hereinafterreferredtoas
   ttDoctor//1'')to serveasthemedicaldirectorofAngel'sRecovery.Doctor//1hadtworeported
   reprimandsfrom theFloridaBoardofMedicine,wasthesubjectofathirddisciplinaryproceeding,
   and w asactively abusing prescription opioidsand cocaine.

           9.     During the period of his em ploym ent, Doctor //1 frequently pre-signed
   prescriptionsthatw ere used to dispense controlled substancesto patientsofAngel'sRecovery by
   otherem ployees.

           10. After severalyears of contested proceedings,on February l7,2015,the Florida
   Board of M edicine issued a FinalOrdersuspending Doctor #1's m edicallicense for fouryears.
   Following the suspension,Jasperson and Bostom continued to em ploy Doctor//1 as the m edical
   directorofA ngel's Recovery,know ing thatD octor//1's license had been suspended. A fter his
   license w assuspended,and untilatleastSeptem ber2,20l5,Doctor//1continued to exam ine and
   treatsom e patientsatA ngel's Recovery,continued to prescribe controlled substances and bodily
   fluid testing to Angel's Recovery patients,and continued to provide pre-signed prescriptions that
   allowed otherem ployees ofA ngel'sRecovery to unlawfully provide prescriptionsforcontrolled
   substancesand bodily tluid testing to A ngel'sRecovery patients.The bodily tluid testing thatwas
   prescribedbyDoctor//1(orothersusingprescriptionspre-signedbyDoctor#1)wasnotproperly
   prescribed ormedicallynecessarybecause:(i)Doctor#1signedtheprescriptionsandstatements
   of m edical necessity for bodily tluid testing w hen he had not exam ined the patients prior to
   prescribingthetesting;(ii)Doctor$1wasnotalicensedmedicaldoctoratthetimehesignedthe
   prescriptions and statements of medicalnecessity;and (iii)the testresultswere nottimely
   reviewed orused by a doctorortreatm entprofessionalin developing orm odifying the patients'
   treatmentplans. The suspension ofDoctor//1'slicense was a m aterialfactin connection w ith the
   delivery ofhealth care services,particularly in connection w ith m aintaining a valid license from
   the D epartment of Children and Fam ilies, and the defendant concealed that fact from the
   D epartm entofChildren and Fam ilies.
                 Substanceabuse treatmentfaciliticsin Floridathatofferinpatienttreatm entoroffer

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   outpatienttreatmentwith a residentialhousing componentaresubjectto specialized licensing
   requirements.Many insurancecompaniesdonotprovidecoverageforinpatienttreatment(other
   thaninpatientdetoxification)orforresidentialhousingcomponents,sopatientsarerequiredtopay
   fortheirow n housing w hile attending outpatienttreatm ent.

           12. To secure a steady stream of patients,Jasperson and Bostom established illegal
   kickback/bribe relationshipsw ith ownersofrecovery residences,com m only referred to astûsober
   hom es,''in exchange for referring the sober hom es'insured residents to Angel's Recovery for
   treatm ent. Jasperson and Bostom provided the m oney used to purchase orrentseveralproperties
   used asiisoberhom es,''although the purchase agreem ents orleasesw ould bearthe nam es ofthird
   parties.

          13. RedemptionSoberHouse,lnc.(sslkedemption'')wasamulti-bedresidenceinPalm
   BeachCounty,Florida,locatedat243N.E.13thStreet,DelrayBeach,Florida,thatgurportedto
   operateasasoberhome.AccordingtocorporaterecordsfiledwiththeStateofFlorlda,Michael
   BondswasthejresidentofRedemptlon.MichaelBondsreferredRedemptionresidentstoAngel's
   Recovery and,ln exchange,directly orindirectly received morethan $700,000 in paymentsfrom
   A ngel'sRecovery.

          l4.    A person with initialsA .J.owned tw o multi-bed residences in Palm Beach County,
   Florida,thatpurportedtooperateassoberhomes.A.T.W ay LLC (GW .T.W ay'')waslocatedat
   l20SW 13thAve,BoyntonBeach,Florida,andCarterCareRecovery(sscarterCare'')waslocated
   at 315 SW 7th Avenue,Boynton Beach,Florida. A .J.received m oney from the defendants to
   purchase the properties used asA .T.W ay and CarterCare. A .J.referred residents ofA .T.W ay
   and CarterCare to Angel'sRecovery and,in exchange,directly orindirectly received m ore than
   $150,000 in paymentsfrom Angel'sRecovery.
           15. Thedefendantsand theirco-conspiratorsrequiredthesoberhom eresidentsto travel
   to A ngel'sRecovery m ultiple tim es perw eek to attend treatm entsessions and to subm itto drug
   testing,which the defendantsand co-conspirators could billto the lnsurance Plans. To this end,
   the defendantssentvansto the soberhom esto transporttheresidentsto A ngel'sRecovery.

          l6.    The U.S.Departm entofH ealth and Hum an Services,Substance Abuse and M ental
   Hea1thServicesAdministration,CenterforSubstanceAbuseTreatment(tESAMHSA'')wastasked
   w ith establishing and im plem enting a comprehensive program to improve the provision of
   treatmentand related services to individuals with respectto substance abuse and w ith protecting
   thelegalrightsofindividualswhoaresubstanceabusers.42U.S.C.j290aa.
          17.    çlsubstanceabuse''w asdefined asisthe abuse ofalcoholorotherdrugs.'' 42 U .S.C.
   j290cc-34(4).ttTreatment''meantt:themanagementandcareofapatientsufferingfrom alcohol
   ordrug abuse,acondition which isidentified ashaving been caused bythatabuse,orboth,in order
   to reduceoreliminatetheadverseeffectsupon thepatient.''42 C.F.R.j2.1l.
            18. ln addition to substance abuse treatm ent program s, SA M H SA prom ulgated
   guidelines for sober homes. Sober hom es generally did not provide m edical care or clinical
   services to their residents. W hen properly m anaged,sober homes operated as alcoholand drug
   free living environm ents for individuals attempting to abstain from alcoholand drugs,including

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   providing a peersupportnetw ork ofindividuals in recovery.

          l9.    Substance abuse services in Florida w ere governed by the ttl-lal S.M archm an
   AlcoholandOtherDrugServicesAct''(tstheMarchmanAct''),Fl.Stat.j397.30l.Amongstother
   things,the M archm an Actm ade itunlawfulforany person oragency to actas a substance abuse
   serviceproviderunlessitwasproperly licensed.Fl.Stat.j397.401(14;F1.Admin.Codej6517-
   300.003(1)(a). Underthe Marchman Act,private substance abuse service providers'policies
   regardingpaymentforserviceshadtocomplywithfederalandstatelaw.Fl.Stat.j397.431
          20.    D CF w as tasked w ith regulating and licensing substance abuse service providers.
   Fl.Stat.j397.32l.
           21. The M archm an Actalso provided guidelinesforsoberhom es/recovery residences,
   w hich w ere defined asi'a residentialdwelling unit,orotherform ofgroup housing thatisoffered
   oradvertised ...asa residence thatprovides a peer-supported,alcohol-free,and drug-free living
   environment.''Fl.Stat.j397.311(36).
          22.    lnsurancecoverageforsubstanceabusetreatm entand testing wasavailablethrough
   anumberofavenues,includingfederalhealthcarebenefitsprogramsliketheFederalEmjloyees
   HeaIthBenefitsProgram (idFEHBP''),healthplanssponsoredbyprivateemployers(includlngthe
   NationalRailroadPassengerCorjoration (sWmtrak'')emjloyeehealthcarebenefitplans),and
   health plansoffered directly by prlvate insurance companles. Health plans sponsored by private
   employersaregovernedbytheEmployeeRetirementlncomeSecurityActof1974(d$ER1SA''),29
   U.S.C.jj 1001,etseq.,whilethosesponsoredbygovernmentalemployersandcertainothersare
   exemptedfrom ERISA'Sjurisdiction.
          23.    Both ERISA and nOn-ERISA health benefitplans,including A ffordable Care A ct
   plans,wereofferedoradministeredbygrivateinsurancecompanies,includingBlueCrossclue
   Shield ($:BCBS''),Aetna,CignaBehavloralHea1th,CignaHealth & Life Insurance Company,
   United BehavioralH ealth,and U nited Health G roup.

          24. Angel's Recovery subm itted claim s forreim bursem entto m ultiple health benefit
   plans,including theFEHBP plans,Am trak'sestablishedplans,and private ERISA and nOn-ERISA
   healthbenefitplans(ointlyreferredtoasS'thelnsurancePlans'').
          25.    The lnsurance Plans were Ekhealth care benefitprogram s,''as defined in Title 18,
   United States Code,Section 24(b),that is iipublic orprivate plans or contracts,affecting
   com m erce,underw hich any m edicalbenefit,item orservice isprovided to any individual.''

          26. Regardlessofthe type ofInsurance Plan held by a patient,the am ountofcoverage
   and term s and conditions of billing and paym ent were governed by the term s of the patient's
   insurance docum ents, and the insurance com pany adm inistering the plan had the authority,
   responsibility,and discretion to m akecoverage determ inationsand to processand m ake paym ents
   on claim s.

          27. TheSiFloridaPatientBrokeringA ct''m ade ita felony offenseforanyperson,health
   careprovider,orhealth care facility,including any statelicensed substance abuse service provider,
   to:tXa)Offerorpayanycommission,bonus,rebate,kickback,orbribe,directlyorindirectly,in
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   cash or in kind,or engage in any split-fee arrangem ent,in any form whatsoever,to induce the
   referralofpatientsorpatronagetoorfrom ahealthcareproviderorhealthcarefacility;(b)Solicit
   orreceive any comm ission,bonus,rebate,kickback,orbribe,directly or indirectly,in cash orin
   kind,or engage in any split-fee arrangem ent, in any form whatsoever, in return for referring
   patientsorpatronagetoorfrom ahealthcareproviderorhealthcarefacility;(c)Solicitorreceive
   any comm ission,bonus,rebate,kickback,orbribe,directly or indirectly,in cash or in kind,or
   engage in any split-fee arrangem ent, in any form whatsoever,in return for the acceptance or
   acknowledgementoftreatmentfrom ahealthcareproviderorhealthcarefacility;or(d)Aid,abet,
   advise,orothelwiseparticipateintheconductprohibitedunderparagraph(a),paragraph (b),or
   paragraph(c).''Fla.Stat.j817.505.
          28. The defendantsand co-conspiratorsprovided kickbacks and bribes,in the form of
   freeorreduced rent,insuranceprem ium paym ents,and otherbeneftsto individualsw ith insurance
   who agreed to reside atthe sober hom es and attend drug treatment,which included regular and
   random drugtesting(typicallythreeormoretimesperweek),sothatmembersoftheconspiracy
   could billthe testing and treatm entto the residents'lnsurance Plans. To disguise kickbacksand
   bribes to patients,the defendants used a separate entity nam ed AngelW atch Foundation,Inc.,to
   pay insuranceprem ium sforpatientsofAngel'sR ecovery sothatAngel'sRecovery could continue
   to billthepatients'insurance com paniesfortreatm entexpenses.

          29.    Underthe tennsofthe insurancepoliciesand consistentw ith state and federallaw ,
   the lnsurance Planswere only responsible for claimsfor services that:(a)were d<medically
   necessary''andactuallyrendered,(b)wereprovidedby aproperlylicensedserviceprovider,and
   (c)compliedwiththetermsofthehealthcareplans,includingtheobligationtopayco-insurance
   and deductibles.
           30. Unlike treatmentfacilities,sober hom es generally did notprovide m edicalcare or
   clinicalservicesthatcould be reim bursed by health insurance. W hile there w ere federaland state
   guidelines,soberhom esw ere notlicensed orfunded by state orlocalgovernm ents. However,ifa
   treatm entfacility offered residentialservices,those services had to be licensed by DCF. Since
   soberhomeswere merely glacesto live,legitimate soberhomes generated income to cover
   expensesthroughthecollectlonofweeklyormonthlyrentpaidbytheirresidents,justaswithany
   otherlandlord-tenantrelationship.

         31. Bodily tluid testing could be used to detectrecentdrug or alcoholuse by a client
   by conducting various tests on a client's urine,blood,and saliva. Urine A nalysis or urinalysis
   (t1UA'')testingcomplexity ranged from screening tests- also known aspointofcare(û'POC'')
   testing - w hich provided instantresults,to confirm atory testing,which w as sentto a laboratory,
   form ore com plex analysis.Laboratoriescould also conductcom plex analysison blood and saliva
   samples.

          32. Like other m edical tests, bodily fluid testing could be billed and reimbursed
   pursuantto theterm softhe insurancepolicy.TheInsurancePlansw ereonly responsible forclaim s
   fortestingthatwasdsmedicallynecessaryr''actuallyperformed,progerlyprescribed,andconducted
   by a properly licensed service provider,and conducted and billed ln com pliancew ith the term sof
   the health careplan,including the obligation to pay co-insurance.


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         33. The defendants and co-conspirators prepared and caused the preparation and
   submission of fraudulent insurance claim form s attesting thatthe billed am ounts qualified for
   reimbursement,that is,(i)the claims falsely stated thatthe testing and treatmenthad been
   m edically necessary when,in truth and in facts som e ofthe claimed testing and treatm enthad not
   beennecessaly;(ii)theclaimsfailedtodisclosethatthepatientswerereferredtoAngel'sRecovery
   inexchangeforkickbacksandbribes;(iii)theclaimsfailedtodisclosethatsomepatientshadnot
   paidtheirco-paymentsanddeductibles;(iv)theclaimsfailedtodisclosethatsomeofthepatients'
   insurancepremiumswerepaidbythedefendantsthemselves;and(v)theclaimsfailedtodisclose
   thatD octor#1'sm edicallicense wassuspended and, accordingly,the license ofAngel's Recovery
   wasinvalidbecauseitdidnothaveaproperly licensedmedicaldirector.

                                                 BEN JAM W G.GREENBERG
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